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| | FCI Fort Dix

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LAURA TAYLOR SWAIN Joint Base MDL, N.J., 08640
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Feburary 3rd, 2021
The Honorable Laura T. Swain
United States District Judge
Southern District of New York
500 Pearl Street
New York, New York, 10007
RE: United States v. Rodriguez

10-CR-905 (LTS)
Compassionate Release

Dear Judge Swain:

Please accept this letter in lieu of a more formal reply to
the Government's Opposition ("opp" or "response"), to Petitioner's
Motion for Compassionate Release, dated January 6th, 2021. This
reply is based primarilly on changed circumstances, including that
FCI Fort Dix, where petitioner Oscar Rodriguez, is currenl!!ly
serving his sentence is experiencing a severe outbreak of COVID-19
Cases, and Mr. Rodriguez has tested positive for Covid-19, as well
as approximately 1000 other inmates.

Additionally, the Government states that petitioner's Motion
for Compassionate Release on the basis that he would face a much
lower mandatory-minimum sentence if he were sentenced today, and
that petitioner's secondary argument that the on going COVID-19
pandemic warrants release notwithstanding his lack of any
particular risk factors should be denied because neither

circumstance presents an extraordinary and compelling reason
 

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justifying a sentence reduction. The Government further argued
that even if petitioner could satisfy his burden of establishing
extraordinary and compelling basis for a sentence reduction, that
the motion should still be denied on the basis of the factors set
forth in 18 U.S.C. §3553(a).

As explained below, a Reduction in Sentence ("RIS") should be
granted because: (1) Courts have found both reasons submitted by
petitioner to meet the extraordinary and compelling circumstances
standard/regquirements; (2) the outbreaks at FCI Fort Dix have been
uncontrollable. Fort Dix --leads the nation (FBOP) for the third
time in positive active cases for COVID-19-- supporting the fact
that FCI Fort Dix is unable to prevent or control COVID-19; (3)
Petitioner's positive diagnosis although in the early stages, only
time will tell if petitioner's symptoms become unmanagable and
require hospitalization. It is still uncertain what long term
effects petitioner may experience and more importantly, whether he
May become re-infected in a facility that has admittedly
acknowledged that social distancing is not possible at Fort Dix;
(4) The arguments surrounding petitioner's criminal history and
instant offense have already been advanced and considered by the
Court at sentencing, and although, reprehensible, petitioner --
contrary to the Government's assertions-- is remorseful, and
should not be the basis to deny a RIS where there exists a very

real possibility of severe illness and/or death.

MR. RODRIGUEZ POSITIVE COVID-19 DIAGNOSIS AND THE
CHANGED CIRCUMSTANCES WARRANT RELIEF.
 

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As an initial matter, contrary to the Government's assertions
the circumstances that petitioner advanced in his Compassionte
Release Motion as extraordinary and compelling reasons have been
found by numerous Courts to meet the extraordinary and compelling
circumstances necessary for a RIS, especially when considered in
conjunction.

To be sure, as set forth in petitioner's Motion for relief,
courts have determined that the disparity and/or unusually long
sentences by today's standards could support an extraordinary and
compelling reason to reduce a sentence. See, e€.g., United States
v. Brooker, 2020 U.S. App. LEXIS 30605 (2d Cir. Sept. 25, 2020);
United States v. Urkevich, No. 8:03-CR-37, 2019 U.S. Dist. LEXIS
197408, 2019 WL 6037391, at *2, 4 (D. Neb. Nov. 14, 2019); United
States v. Maumau, No. 2:08-CR-00758-T011, 2020 U.S. Dist. Lexis
28392, 2020 WL 806121 (D. Utah Feb. 18, 2020); Unilled sllalles v.
Vigneau, 2020 U.S. Dist. LEXIS 129768 (Dist. R.I. July 21, 2020).

The number of positive COVID-19 cases has surged at FCI Fort
Dix, and Mr. Rodriguez's has tested positive for COVID-19 as of
December 22, 2020.

Mr. Rodriguez's positive diagnosis and the dramallic increase
in cases at FCI Fort Dix show that the virus is capable of
spreading and being transmitted despite the best intentions of and
precautions taken by the Federal Bureau of Prisons ("FBOP" or
"BOpI!), Subsequent to petitioner filing his motion for
compassionate release FCI Fort Dix reported that number of inmates
who tested positive soared to over 750 inmated, and it is believed

to be about 50 staff members. The numbers prior to september was
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reduced to zero --ON TWO PRIOR OCCASSIONS-- the numbers was
reduced again on or about January 31, 2021 to as low as 30
inmates. The numbers as of the date of this writing is again in
excess of 200 inmates.

In a letter dated November 9th, 2020, two United States
senators for New Jersey and ten of its Congressional
representatives showed frave concerns about how the COVID-19
pandemic had affected FCI Fort Dix, as well as the BOP's response
to the crisis. In that letter, the lawmakers noted that the BOP
alerted staff that FCI Fort Dix would be receiving transfers of
inmates from FCI Elkton where almost 1,000 inmates and staff had
been infected with COVID-19. The BOP transferred more than 150
inmates from FCI Elkton, and on October 28, 2020, the BOP
confirmed that 54 inmates had tested positive for COVID-19 in one
of the units to which the Elkton inmates had been transferred.
There were, moreover, approximately 228 active cases of COVID-19
among inmates and 10 active cases among staff overall as of
November 9th, 2020.

Petitioner learned that a!'! of December 22, 2020, that out of
approximately 220 inmates in his building that 186 inmates tested
positive for COVID-19 (including petitioner). Within a week every
unit on the East-side of Fort Dix, had a majority of its inmates
testing positive for COVID-19. All five units had approximately
200 inmates test positive. In fact, it got so bad that every unit
on the eastside was fully locked down on guarantine status with
the inmates sealed off and limited to the floor they resided on.

It got so bad that inmates had to be brought from the west-side to
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work the messhall and laundry details. Meanwhile, from what
petitioner learned from staff, every unit (except lwo) on the
waset-side was also guarantined with a majority of the inmates
testing positive |for COVID-19. It is clear that the highly
contagious Corona virus has fully infiltrated Mr. Rodriguez's
housing unit, and facility. The surge in cases has caused
petitioner, and the inmated at his facility to remain locked in
the unit, with poor sanitary conditions, the inability to social
distance, with the warden of FCI Fort Dix admitted is impossible
here at Fort Dix.! This is important as it relates to petitioner
future risk of re-infection and the facility's inability to
prevent the spread of the disease, despite its best efforts.

Mr. Rodriguez's ilness, however, is still in its early
stages, and time will tell if his symptoms bieenecunmanacaure and
reauire hospitalization. A positive COVID-19 diagnosis does not
remove an inmate from the risk of imminent or long-term harm.
Moreover, while it is unclear if petitioner will develop more
serious symptoms, he is also still a!! risk of developing severe
complications from COVID-19 that may have a long-term effect on
his health.

Both the World Health Organizallion ("WHO") and the Centers
for Disease Control and Prevention ("CDC") caution that it is not
yet known whether people who have recovered from COVID-19 can
become infected again. According to the WHO, "[tJhere is currently
no evidence that people who have recovered from COVID-19 and have
antibodies are protected from a second infection." WHO, "Immunity

Passports" in the context of COVID-19 (Apr.24, 2020), available at
 

 

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https: //www.who.int/news-room/commentaries/detail/immunity-
passports-in-the-context-of-covid-19 (last visited Dec.23, 2020).
In early testing, not all individuals infected with COVID-19
developed antibodies. In particular, mild cases of COVID-19 can
resolve before significant and enduring levels of antibodies are
found. (Robert D. Kirkcaldy, et al., COVID-19 and Postinfection
Immunity, JAMA (May Liz 2020), available at
https://jamanetwork.com/journals/jama/fullarticle/2766097 (last
visited Dec. 23, 2020). Indeed, there are a number of reported
cases of individuals who have "recovered," tested negallive, and
later tested positive again.

Petitioner does not need to be re-infected with COVID-19 to
become seriously ill or die from its complications. Indeed, Adrian
Solarzano, an inmate at Terminal Island, was hospitalized and died
from COVID-19 related complications after the BOP showed him as
recovered from the virus, so did Gerald Porter, an inmate at FMC
Fort Worth, died after being hospitalized for shortness of breath.
So did Mr. Robert Hague-Rodgers an inmate at FMC Fort Worth who
tested negative twice, yet had a positive antibody test indicating
that he had the virus in the past. Another recent death reported
on December 18, 2020, and occuring on December 15, 2020, was
Christopher Carey, an inmate who tested positive for COVID-19 on
May 4, was deemed recovered on May 20, 2020, and then went on to
be hospitalized for progressive paralysis requiring bedside care
in August 2020.

Recently Fort Dix reported its first death due to Covid-19.

Hundreds of Courts (and the number grows daily) have granted

relief to defendants who contracted Covid-19, sometimes
 

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specifically citing the dangers of long-term health impacts and
risk of re-infection. In the District of New Jersey, Chief Judge
Wolfson released Terrence Smith after he tested positive for
COVID-19. See Crim. No. 11-452 (Oct. 29, 2020). Judge Martinotti,
released Rosario Pali after he tested positive for COVID-19. See
Crim No. 16-245 (BRM); See also United States v. Williams, 2020 WL
3073320 (D. Md. 2020)(granting relief because "[a]lthough
recovered, it is uncertain whether [the defendant] can contract
COVID-19 more than once, and the potential long-term effects of
the illness are still undetermined"); United States v. Garrison,
Crim No. 11-922 (C.D. ca. July 8, 2020)(risk of complications or
reinfection); United States v. Halliburton, 2020 WL 3100089, *4
(G.D. Ill. 2020)(recognizing risk of relapse, reinfection, and
side effects).

Courts have also recognized the surge in positive cases in
the defendants facility. See e.g., United States v. Robert
Elliott, Crim No. 17-051-PGS (D. N.J. Nov 23, 2020)(granting
renewed motion due to covid-19 surge in FCI Fort Dix); United
States v. Taras Hankewycz, Crim No. 19-649-KMK (SDNY Nov. 17,
2020)(granting renewed motion due to surge in FCI Fort Dix).

The Government places great emphasis on petitioner's
criminal history and the instant offense. The guestion before this
Court is not whether petitioner has a criminal history that can be
viewed as reprehensible bvut whether Mr. Rodriguez's criminal
history should cost him his life. Petitioner has made mant
mistakes for which he is extremely remorseful, yet he submits that

a sentence that involves the very real possibility of death -
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particularly as he is now sick with COVID-19- is certainly more
than necessary to achieve the purposes of sentencing under
§3553(a) in his case. See United States v. Zukerman, Crim No. 16-
194, 2020 U.S. Dist. LEXIS 59588, at *15 (SDNY 2020)(holding that
at the time of the defendant's sentencing, "the Court did not
intend for that sentence to ‘include incurring a great and
unforseen risk of severe illness or death' brought on by a global
pandemic."); United States v. Salvagno, Crim No. 5:02-51, 2020
U.S. Dist. LEXIS95844, at *20 (NDNY Apr. 23, 2020)(explaining that
a punishment which includes the risk of serious illness or death
"is "greater than necessary' to advance the purposes of
sentencing" as reflected in §3553(a) factors); United States v.
Asaro, Crim No. 17-127, 2020 U.S. Dist. LEXIS 68044, at *8 (EDNY
Apr. 17, 2020)("I do not believe that continued detention, in
light of the risk [of serious illness or death from COVID-19], is
an appropriate or proportionate way to further the purposes of
sentencing.").

Surely, Mr. Rodriguez's criminal history and offense conduct
of drug-conspiracy --however reprehensible-- does not call for a
sentence that might result in his death.

Given these changed circumstances, Mr. Rodriguez submits that
this drastically changes the sentencing calculus, and that early
releal'e is anpropriate so he can recupertate, self-isolate and
seek appropriate medical attention as needed.

In addition to all the reasons set forth in his Compassionate
release motion pursuant to section 603 of the First Steno Act and

18 U.S.C. §3582(c)(1)(A) a reduction in sentence should be
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granted.

WHEREFORE, petitioner respectfully requests that this Court
exercise its discretion and issue a reduction in sentence and for
any other and further relief as this court may deem just and

proper.

Respectfully Submitted,

    
       

LB Vie
Mr. Oscar Rodriguez

# 42047-054

FCI Fort Dix

P.O. Box 2000

Joint Base MDL, N.J., 08640
